




NO. 07-02-0422-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JULY 15, 2003



______________________________





DEMOND JOSEPH MAYON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE CRIMINAL JUDICIAL DISTRICT COURT OF JEFFERSON COUNTY;



NO. 78765; HONORABLE LARRY GIST, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

Appellant Demond Joseph Mayon filed a Motion to Dismiss Appeal on July 7, 2003, averring that he no longer wishes to prosecute his appeal. &nbsp;&nbsp;The Motion to Dismiss is signed by both appellant and his attorney. &nbsp;

Without passing on the merits of the case, appellant’s motion for voluntary dismissal is granted and the appeal is hereby dismissed. &nbsp;Tex. R. App. P. 42.2. &nbsp;&nbsp;Having dismissed 



the appeal at appellant’s personal request, no motion for rehearing will be entertained and our mandate will issue forthwith. &nbsp;





Phil Johnson

 &nbsp;&nbsp;&nbsp;	Chief Justice















Do not publish.


